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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

  ATOOI ALOHA, LLC, a Nevada       )        Civil No. 16-00347 JMS - RLP
  Limited Liability Company, et. al.,
                                   )
                                   )        CERTIFICATE OF SERVICE
                 Plaintiffs,       )
                                   )        [Re: Gaurino Defendants Joinder
            vs.                    )        in Defendant Fidelity National
                                   )        Title & Escrow of Hawai‘i , Inc.’s
  ABNER GAURINO, et. al.           )        First Requests for Production of
                                   )        Documents to Plaintiffs Atooi
                 Defendants.       )        Aloha, LLC, Millicent Andrade,
                                   )        and Craig B. Stanley, Individually
                                   )        and as Trustee for the Edmond
                                   )        Keller and Cleavette Mae Stanley
                                   )        Family Trust, Dated September 9,
  ________________________________ )        2017]
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the date indicated below, a copy of Gaurino
  Defendants Joinder in Defendant Fidelity National Title & Escrow of Hawai‘i , Inc.’s
  First Requests for Production of Documents to Plaintiffs Atooi Aloha, LLC, Millicent
  Andrade, and Craig B. Stanley, Individually and as Trustee for the Edmond Keller
  and Cleavette Mae Stanley Family Trust, Dated September 9, 2017, will be served
  upon the following parties by U.S. Mail, postage prepaid, addressed as follows:

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  Cristeta C. Owan

        DATED: Honolulu, Hawai‘i, September 18, 2017.



                                             /s/ ROBERT D. EHELER,, JR.
                                             JOHN R. REMIS, JR.
                                             ROBERT D. EHELER, JR.
                                             Attorneys for Gaurino Defendants




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